Case 1:11-cr-10018-RWZ Document 24 Filed 09/15/11 Page 1 of 10

& AO 245B(05-MA) (Rev. 06/05) Judgment in a Criminal Case
Sheet 1 - D. Massachusetts - 10/05

UNITED STATES DISTRICT COURT
District of Massachusetts

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
BRYAN FITZPATRICK Case Number: 1: 11 CR 10018 - 001 -RWZ

USM Number: 93711-038
Charles P. McGinty, Esquire

Defendant’s Attorney

 

["] Additional documents attached

CO
THE DEFENDANT:
pleaded guilty to count(s) 1

pleaded nolo contendere to count(s)
which was accepted by the court.

 

was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses: Additional Counts - See continuation page C]
Title & Section Nature of Offense Offense Ended Count
18 USC § 2113(a) Unarmed Bank Robbery. 06/29/10 1

The defendant is sentenced as provided in pages 2 through 10 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

] The defendant has been found not guilty on count(s)
C] Count(s) C] is Cc] are dismissed on the motion of the United States.

 

__ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or maiting address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. ]fordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

09/13/11

“eS wd "

Signaturelof Judge
The sesable Rya W. Zobel
Judge, U.S. District Court
Name and Title of Judge

Certmntar IS 2ou
Date \ .

 

 

 
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®A0 245B(05-MA) (Rev. 06/05) Judgment in a Criminal Case
Sheet 2 - D. Massachusetts - 10/05

 

DEFENDANT: BRYAN FITZPATRICK
CASE NUMBER: 1: 11 CR 10018 - 001 - RWZ

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 84 month(s)

to be served concurrent with the state sentence.

The court makes the following recommendations to the Bureau of Prisons:
That the defendant be allowed the opportunity to participate in the 500 Hour Drug Treatment Program; that he
be afforded mental health treatment and anger management treatment.

The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:

[Jat O am. ( pm. on
[| as notified by the United States Marshal.

 

[| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[before 2 p.m. on
[| as notified by the United States Marshal.

 

[ ] as notified by the Probation or Pretrial Services Office.

Judgment -—- Page 2 of 10

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 

 
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SAO 245B(05-MA) (Rev, 06/05) Judgment in a Criminal Case
Sheet 3 - D. Massachusetts - 10/05

 

Judgment—Page __ 3 soo 10

DEFENDANT: BRYAN FITZPATRICK
CASE NUMBER: 1; f1 CR 10018 - 001 - RWZ

SUPERVISED RELEASE [__] see continuation page
Upon release from imprisonment, the defendant shall be on supervised release for a term of : 36 month(s)

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, not to exceed 104 tests per year, as directed by the probation officer.

[| The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[J The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

[ ] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shail refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10} the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant's compliance with such notification requirement.

 

 
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& AO 245B(05-MA) (Rev. 06/05) Judgment in a Criminal Case
Sheet 4A - Continuation Page - Supervised Release/Probation -10/05

 

Judgment—Page —_4— of 10
DEFENDANT: BRYAN FITZPATRICK
CASE NUMBER: 1: 11 CR 10018 - 001 - RWZ

ADDITIONALIY] SUPERVISED RELEASEL_] PROBATION TERMS

The defendant shall participate in a program for substance abuse evaluation and/or counseling as deemed
necessary, and as directed by the United States Probation Office, which program may include testing, not to
exceed 104 drug tests per year. The defendant shall contribute to the costs of services for such treatment based
on his ability to pay or availability of third party payment.

The defendant shall participate in a mental health treatment program as direct by the Probation Office. The
defendant shail contribute to the costs of services for such treatment based on his ability to pay or availability
of third party payment.

That defendant shall participate in the Manualized Cognitive Behavioral Program.

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
probation officer until the restitution ordered is paid in full.

The defendant shall use his true name and is prohibited from the use of any false identifying information

which includes, but it not limited to, any aliases, false dates of birth, false social security numbers, and
incorrect places of birth.

Continuation of Conditions of [_|Supervised Release [] Probation
Case 1:11-cr-10018-RWZ Document 24 Filed 09/15/11 Page 5 of 10

AO 245B(05-MA) (Rev, 06/05) Judgment in a Criminal Case
Sheet 5 - D. Massachusetts - 10/05

 

 

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DEFENDANT: BRYAN FITZPATRICK
CASE NUMBER: 1: 11 CR 10018 - 001 -RWZ
CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
Assessment Fine Restitution
TOTALS $ $100.00 $ $ $1,020.00
[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
[| The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately “pe ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18°U.S.C. § 3664(i), all nonfederal victims must be paid

before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
Sovereign Bank $1,020.00 $1,020.00
2 Morrissey Blvd.

Dorchester, MA

LJ See Continuation
Page

TOTALS $ $0.00 $ $0.00

[] Restitution amount ordered pursuant to plea agreement $

[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived for the C] fine restitution.

[[] the interest requirement forthe [[] fine [_] restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

 

 
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SAO 245B(05-MA) {Rev. 06/05) Judgment in a Crimina] Case
Sheet 6 - D, Massachusetts - 10/05

Judgment —-Page ___6_ of 10
DEFENDANT. BRYAN FITZPATRICK
CASE NUMBER: 1: 11 CR 10018 - 001 - RWZ ——

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A Lump sum payment of $ $100.00 due immediately, balance due

[1] not later than

, or
[| in accordance []c [1D [] F,or [[]F below; or

[ ] Payment to begin immediately (may be combined with C] c, CJ D, or C] F below); or
Cc [ Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(¢.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D [| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E [] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F Special instructions regarding the payment of criminal monetary penalties:

Defendant is to pay the restitution according to a court ordered schedule by the Probation Department.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[_]Joint and Several C] See Continuation
Page

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[| The defendant shall pay the cost of prosecution.
[ ] The defendant shall pay the following court cost(s):

CI The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

 
Case 1:11-cr-10018-RWZ Document 24 Filed 09/15/11 Page 7 of 10

 

AOQ245B (Rev. 06/05) Criminal Judgment
Attachment (Page 1) — Statement of Reasons - D. Massachusetts - 10/05
DEFENDANT: BRYAN FITZPATRICK Judgment —Page 7 of 10
CASE NUMBER: 1: 11 CR 10018 - 001 - RWZ
DISTRICT: MASSACHUSETTS
STATEMENT OF REASONS
I COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

II

Wl

A wv The court adopts the presentence investigation report without change.

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]
2
3
4

c O

The court adopts the presentence investigation report with the following changes.

(Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)
(Use Section VIII if necessary.)

[] Chapter Two of the U.S.S.G, Manual determinations by court (including changes to base offense level, or
specific offense characteristics):

(1) Chapter Three of the U.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
role in the offense, obstruction of justice, multiple counts, or acceptance of responsibility):

[] Chapter Four of the U.S.S.G. Manual determinations by court (including changes to criminal history category or
scores, career offender, or criminal livelihood determinations):

[-] Additional Comments or Findings (including comments or factual findings concerning certain information in the

presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
or programming decisions):

The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P, 32,

COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

A ww No count of conviction carries a mandatory minimum sentence.

BO
co

Mandatory minimum sentence imposed.

One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum

does not apply based on

[] findings of fact in this case
[-] substantial assistance (18 U.S.C. § 3553(e))
L] the statutory safety valve (18 U.S.C. § 3553(f)

COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

Total Offense Level: 29

Criminal History Category: !

Imprisonment Range: 151 to 188 months
Supervised Release Range: 2 to 3 years
Fine Range: $ 15.000 to $ 150.000

LA Fine waived or below the guideline range because of inability to pay.

 
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AO 245B (05-MA) {Rev. 06/05) Criminal Judgment
Attachment (Page 2) — Statement of Reasons - D. Massachusetts - 10/05

DEFENDANT: BRYAN FITZPATRICK Judgment — Page 8 of 10
CASE NUMBER: 1: 11 CR 10018 - 001 - RWZ
DISTRICT: MASSACHUSETTS
STATEMENT OF REASONS
IV. ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)
A The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart.
B The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.

(Use Section VIII if necessary.)

c QO The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
(Also complete Section V.)

D Ard) The court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section V1.)

VY DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)

A The sentence imposed departs (Check only one.):
(] below the advisory guideline range
[] above the advisory guideline range

B_ Departure based on (Check all that apply.):

1 Plea Agreement (Check all that apply and check reason(s) below.}:

5K1.1 plea agreement based on the defendant’s substantial assistance

5K3.1 plea agreement based on Early Disposition or “Fast-track” Program

binding plea agreement for departure accepted by the court

plea agreement for departure, which the court finds to be reasonable

plea agreement that states that the government will not oppose a defense departure motion.

otion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
5K1.1 government motion based on the defendant’s substantial assistance
5K3.1 government motion based on Early Disposition or “Fast-track” program
government motion for departure
defense motion for departure to which the government did not object
defense motion for departure to which the government objected

3 Other
LJ Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):

he
OOOOOs OOOOO

C  Reason{s) for Departure (Check all that apply other than 5K1.1 or 5K3.1.)

5K2.1 Death

5K2.2 Physical Injury

5K2.3 Extreme Psychological Injury
5K2.4 Abduction or Unlawful Restraint
5K2.5 Property Damage or Loss

5K2.6 Weapon or Dangerous Weapon

4A1.3 Criminal History Inadequacy
SH1.1 Age

$H1,2— Education and Vocational Skills
$5H1.3. Mental and Emotional Condition
5H1.4 — Physical Condition

3H1.5 Employment Record

$K2.11 Lesser Harm

5K2.12 Coercion and Duress

$K2.13 Diminished Capacity

5K2.14 Public Welfare

$K2.16 Voluntary Disclosure of Offense
5K2.17 High-Capacity, Semiautomatic Weapon
5K2.18 Violent Street Gang

5K2.20 Aberrant Behavior

$K2.21 Dismissed and Uncharged Conduct
5K2.22 Age or Health of Sex Offenders
5K2.23 Discharged Terms of Imprisonment

5H1.6 Family Ties and Responsibilities
$H1.14 Military Record, Charitable Service,
Good Works

$K2.0 | Aggravating or Mitigating Circumstances

5K2.7 Disruption of Government Function
5K2.8 Extreme Conduct
5K2,9 Criminal Purpose
5K2.10 Victim’s Conduct

O OOOOROOD
OOOODCOROON
OOOOOOORORCHAOH

Other guideline basis (e.g., 2B1.1 commentary)

D_ Explain the facts justifying the departure. (Use Section VIII if necessary.)

 

 

 
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AO 245B (05-MA) (Rev. 06/05) Criminal Judgment
Attachment (Page 3} Statement of Reasons - D. Massachusetts 10/05

DEFENDANT: BRYAN FITZPATRICK Judgment--Page 9 of 10
CASE NUMBER: 1: 11 CR 10018 - 001 - RWZ
DISTRICT: MASSACHUSETTS

STATEMENT OF REASONS

VI COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
(Check all that apply.)

A The sentence imposed is (Check only one.):
-£] below the advisory guideline range
L] above the advisory guideline range

B Sentence imposed pursuant to (Check all that apply.):

1 Plea Agreement (Check al! that apply and check reason(s) below.):
[[] _ binding plea agreement for a sentence outside the advisory guideline system accepted by the court
[_]__ plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
[] _ plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
system

2 Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
[-] government motion for a sentence outside of the advisory guideline system
[] _ detense motion for a sentence outside of the advisory guideline system to which the government did not object
[] defense motion for a sentence outside of the advisory guideline system to which the government objected

3 Other

(J. Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s} below.):
C —_—- Reason({s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(1)

to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 U.S.C, § 3553(a)(2)(A))
to afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a}(2)(B))

to protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2(C))

to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
(18 U.S.C. § 3553(a)(2)(D))
to avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6))

to provide restitution to any victims of the offense (18 U.S.C. § 3553(a){7))

SO SoOoss&s

D Explain the facts justifying a sentence outside the advisory guideline system. (UseSection VIII if necessary.)

The guideline range is by virtue of the career offender provisions twice the calculation for the offense and criminal history
without reference to § 4B 1.1. Both parties recommended a sentence well below the prescribed range, the government, 90
months, defendant, 60. Defendant suffers from serious mental illness and is addicted to drugs and alcohol. This sentence of
84 months will hopefully provide structure to his wholly disorganized life as well as treatment and training in life and
employment skills. At the same time it reasonable reflects the seriousness of his offense and his record.
Case 1:11-cr-10018-RWZ Document 24 Filed 09/15/11 Page 10 of 10

AQ 245B ( 05-MA) (Rev. 06/05) Criminal Judgment
Attachment (Page 4) — Statement of Reasons - D. Massachusetts - 10/05

DEFENDANT: BRYAN FITZPATRICK Judgment — Page 19 of 10
CASE NUMBER: 1: 11 CR 10018 - 001 - RWZ
DISTRICT: MASSACHUSETTS

STATEMENT OF REASONS

VIL COURT DETERMINATIONS OF RESTITUTION

A (1 Restitution Not Applicable.

B Total Amount of Restitution: _!-020.00

C Restitution not ordered (Check only one.):

] CT For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because the number of
identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).

2 [] For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663<A, restitution is not ordered because determining complex
issues of fact and relating them to the cause or amount of the victims’ losses would complicate or prolong the sentencing process to a degree
that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c}(3)(B).
3 (_] For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing guidelines, restitution is not
ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order outweigh

the need to provide restitution to any victims under 18 U.S.C. § 3663(a)(1)(B)(il).

4 [7] Restitution is not ordered for other reasons. (Explain.)

D C1 Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):

VIIL ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)

aed

Sections I, II, II, [V, and VII of the Statement of Reasons form must be completed in all felony cases.

 

 

 

 

 

 

Defendant’s Soc, Sec. No.: XXX-XX-XXXX Date of Imposition of Judgment
09/13/11.
Defendant’s Date of Birth; _ 90-00-1980 C } ZA
Defendant’s Residence Address: Quincy, Mass. Sigwathre of Judge
The Hongrable Rya W. Zobel Judge, U.S. District Court
Defendant’s Mailing Address: MCI-Cedar Juncti Name and Title of Jndge
- t! .
Mr Ce unto Date Sianed 1715 7

South Walpole, MA.

 
